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12                             UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
14                                    OAKLAND DIVISION
15                                              CASE NO. 4:20-cv-04062-PJH
     KENT HASSELL, on his own behalf and on
16   behalf of all others similarly situated,
                                                RESPONSE TO CELA BRIEF
17                     Plaintiff,

18         v.
19   UBER TECHNOLOGIES, INC., d/b/a UBER
     EATS,
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                       Defendant.
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                                    RESPONSE TO CELA BRIEF
1           At the May 6, 2021 hearing on Uber’s Motion to Dismiss, Plaintiff’s counsel attempted to

2    “incorporate by reference” the amicus brief filed by the California Employment Lawyers’ Association

3    in a different case, Nicholas v. Uber Techs., Inc., No. 4:19-cv-08228 (N.D. Cal. Mar. 10, 2021), Dkt.

4    58-1 (“CELA Br.”). CELA’s brief in Nicholas does not even address the doctrine of abatement at issue

5    in Uber’s motion to dismiss, and therefore is not relevant to whether the Court should grant Uber’s

6    motion.

7           CELA Does Not Even Address Abatement. CELA’s brief argues that “Uber fails to meet the

8    elements of the ‘statutory repeal’ doctrine.” CELA Br. 1. But “statutory repeal” is not the doctrine at

9    issue in Uber’s motion to dismiss in this case (or in Nicholas for that matter). Abatement is the basis

10   for Uber’s motion to dismiss, and that is a distinct and independent doctrine, with different standards

11   than statutory repeal. See Rossetti v. Stearn’s Prods., Inc., 2016 WL 3277295, at *4 (C.D. Cal. June 6,

12   2016). CELA’s amicus brief does not mention abatement—not once—and is therefore inapplicable to

13   the issues presented in Uber’s motion.

14          CELA also insists that for Prop 22 to apply to this case, Uber must present sufficient evidence

15   to overcome the presumption against retroactivity and demonstrate the voters and Legislature intended

16   Prop 22 to apply retroactively. CELA Br. 2. But here again, the doctrine at issue is abatement, not

17   retroactivity—separate legal standards that operate independently. Physicians Comm. for Responsible

18   Med. v. Tyson Foods, Inc., 119 Cal. App. 4th 120, 125 (2004); Rossetti, 2016 WL 3277295, at *4.

19   Abatement concerns the dissolution of an existing cause of action and an “expan[sion of] protections

20   afforded defendants by way of changes to previous statutory foundations for liability”; retroactivity,

21   by contrast, applies when a statute “impose[s] new or additional liability on a defendant” for actions

22   that were legal under contemporaneous law by applying a new standard to past conduct. Rossetti, 2016

23   WL 3277295, at *4. As the California Supreme Court recognized nearly a century ago, the presumption

24   that statutes “operate prospectively” is distinct from, and co-exists with, the “general rule” that “a cause

25   of action or remedy dependent on a statute falls with a repeal of the statute, even after the action thereon

26   is pending.” Callet v. Alioto, 210 Cal. 65, 67 (1930). This is why “[a]lthough the courts normally

27   construe statutes to operate prospectively,” dissolution of a statutory right or remedy “‘terminate[s] all

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                                          RESPONSE TO CELA BRIEF
1    pending actions based [solely] thereon.’” Governing Bd. v. Mann, 18 Cal. 3d 819, 829 (1977) (quoting

2    S. Serv. Co. v. Los Angeles County, 15 Cal. 2d 1, 11–12 (1940)).

3           Abatement Does Not Require a Repeal. CELA argues at length that Prop 22 did not repeal

4    AB5. But abatement does not require a “repeal”; abatement focuses on the substance of the legislation,

5    not its label or any magic words effectuating repeal. Zipperer v. County of Santa Clara, 133 Cal. App.

6    4th 1013, 1025 (2005). Abatement applies even where the voters “leav[e] the original language in [a]

7    statute and” merely create a “safe harbor” for certain litigants because the voters still have “take[n]

8    away the right of action itself.” Fitzpatrick v. Tyson Foods, Inc., 2016 WL 5395955, at *3 (E.D. Cal.

9    Sept. 27, 2016) (electorate “need not repeal a statute in its entirety” to trigger abatement, “but may

10   instead partially repeal a statute by taking away the right of action in certain situations,” including “by

11   amendment” (italics added)), aff’d, 714 F. App’x 797 (9th Cir. 2018); Zipperer, 133 Cal. App. 4th at

12   1023 (amendment may cause abatement); Rossetti, 2016 WL 3277295, at *3–4 (abating UCL claims

13   where prior “version of the statute upon which Plaintiff relies” “still reads much the same”); Alaei v.

14   Rockstar, Inc., 224 F. Supp. 3d 992, 999 (S.D. Cal. 2016) (“amendment” sufficient to trigger

15   abatement, collecting abatement cases whenever “a statutory remedy is” “withdrawn”).

16          Prop 22 Partially Repealed AB5. Regardless, CELA gets the law on repeal in California wrong

17   as well. As Judge Chen has explained, “Prop 22 … repeal[ed] AB 5 with respect to app-based drivers”

18   and classified those drivers independent contractors. James v. Uber Techs., Inc., 2021 WL 254303, at

19   *1 (N.D. Cal. Jan. 26, 2021).       Prop 22 created a new classification test for app-based drivers

20   “[n]otwithstanding any other provision of law, including ... the Labor Code”—which is a term of art

21   that effectuates an implied repeal of AB5 for these workers. Cal. Bus. & Prof. Code § 7451 (italics

22   added). That statutory phrase unmistakably “declares the legislative intent to override all contrary law”

23   and “to have the specific statute control despite the existence of other law which might otherwise

24   govern.” Klajic v. Castaic Lake Water Agency, 121 Cal. App. 4th 5, 13 (2004) (citations omitted); In

25   re Marriage of Cutler, 79 Cal. App. 4th 460, 475 (2000) (“notwithstanding any other provision of law”

26   “signals a broad application overriding all other code sections”). And it provides “undebatable

27   evidence of an intent to supersede [an] earlier” enactment especially where, as here, “the [voters] w[ere]

28   aware of the conflict” between Prop 22 and AB5. Watkins v. County of Alameda, 177 Cal. App. 4th


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                                          RESPONSE TO CELA BRIEF
1    320, 343 (2009) (rejecting plaintiff’s argument that later statute did not impliedly repeal earlier statute).

2    Prop 22 thus “takes the place of whatever law would otherwise” apply (People v. Acosta, 29 Cal. 4th

3    105, 132 (2002)), “partially repeal[ing]” the ABC test as applied to app-based drivers such as Plaintiff

4    (United States v. Novak, 476 F.3d 1041, 1052 (9th Cir. 2007) (rejecting argument against implied repeal

5    because “[w]e have recognized that ‘including a ‘notwithstanding any other law’ provision is a

6    method—akin to an express reference to the superseded statute—by which Congress can demonstrate

7    that it ‘intended to partially repeal an act’”) (quoting Lujan–Armendariz v. INS, 222 F.3d 728, 747 (9th

8    Cir. 2000)); James, 2021 WL 254303, at *1).

9            Prop 22 Does Not Contain a Savings Clause. CELA insists that California Business and

10   Professions Code sections 4 and 12 operate as a “general savings clause” that precludes abatement.

11   CELA Br. 16. But California law is clear that a pending statutory cause of action “falls … in the

12   absence of a saving clause in the repealing statute”—Prop 22—itself. Mann, 18 Cal. 3d at 829; see

13   also Rankins v. Longs Drug Store, 169 Cal.App.4th 1246, 1260 (2009) (holding general savings clause

14   in federal law could not bar abatement absent an “express savings clause” in statute). CELA’s

15   argument that a general, preexisting savings clause applies to new legislation has been rejected by

16   numerous courts. See, e.g., Rossetti, 2016 WL 3277295, at *4 (applying abatement based on new

17   statute added to the Business and Professions Code that limited reach of previously codified general

18   provision); Hass v. Citizens of Humanity 2016 WL 7097870, at *3 (S.D. Cal. Dec. 6, 2016) (same);

19   Fitzpatrick, 2016 WL 5395955, at *4 (same).

20           In Palmer v. Stassinos, 419 F. Supp. 2d 1151 (N.D. Cal. 2005), for example, the plaintiffs

21   quoted the same dicta from Sobey v. Molony, 40 Cal. App. 2d 381 (1940), that CELA relies on, to

22   advance CELA’s same general “savings clause” argument to bar application of a ballot measure’s

23   amendments to pending statutory claims. Palmer, 419 F. Supp. 2d at 1157. But the court in Palmer

24   explained that “the Sobey court’s statements were” not made in the context of new legislation and

25   sections 4 and 12 do not apply where, as here, “[t]he change at issue” does not involve the law as its

26   existed before the creation of the code. Id. (quoting Sobey, 40 Cal. App. 2d at 384). Palmer was

27   correct; Sobey spoke only of Section 4’s construction “to continue the old statute in effect” at the time

28   of codification in 1937—nothing more. 40 Cal. App. 2d at 384.


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                                          RESPONSE TO CELA BRIEF
1            The California Court of Appeal likewise explained that the “evident purpose of [section 4] was

2    to preserve actions, proceedings, and accrued rights in existence at the time the code itself was enacted”

3    in 1937, and that section 12 is merely an interpretive provision to “ensure that any references to a

4    Business and Professions code section by some other code would apply also to any amendments or

5    enactments of the Business and Professions Code.” Hartford Fire Ins. Co. v. Superior Court, 36 Cal.

6    Rptr. 3d 279, 285 (Cal. Ct. App. 2005), transferred and vacated on other grounds. That understanding

7    is wholly consistent with the plain text of these provisions, which apply only to ““action[s] or

8    proceeding[s] commenced before this code takes effect” and “rights accrued” thereto. Cal. Bus. & Profs

9    Code § 4 (emphasis added). And the California Supreme Court (and many others) have rejected

10   arguments against abatement in the context of identical provisions in the Health and Safety Code,

11   among others. Younger v. Superior Court, 21 Cal. 3d 102, 110 & fn. 5 (1978) (“it does not deal with

12   pending actions and is not a savings clause”); City of San Jose v. Int’l Ass’n of Firefighters 178 Cal.

13   App. 4th 408, 423–24 (2009) (same, despite identical provisions in the Government Code); Dep’t of

14   Soc. Welfare v. Wingo, 77 Cal. App. 2d 316, 321 (1946) (same, despite identical provisions in the

15   Welfare and Insurance Code). In fact, (almost) every code in California contains identical provisions—

16   meaning CELA’s position asks this Court to find every case abating claims in the state over the last

17   century were wrongly decided. 1

18           “[A]ll statutory remedies are pursued with full realization that the” voters “may abolish the right

19   to recover at any time,” and, in passing Prop 22, the electorate has done exactly that. Younger, 21 Cal.

20   3d at 109. CELA is wrong; the voters have extinguished Plaintiff’s claims grounded in the ABC test.

21           Plaintiff’s Claims Are Not Based in Common Law. CELA asserts that abatement cannot apply

22   to claims for “unpaid wages” because employees could recover such wages at common law. CELA

23   Br. 6, 17. But this argument just begs the question—whether Plaintiff is an employee. To have any

24   such common-law right in the first place, drivers must have been classified as employees, as CELA’s

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          Compare e.g., Sections 4 & 9 of the Government Code, with, e.g., County of San Bernardino v.
26        Ranger Ins. Co., 34 Cal. App. 4th 1140 (1995) (abating claims). Identical or nearly identical
          provisions exists in the Health & Safety Code, Government Code, Labor Code, Welfare and
27        Insurance Code, Education Code, Insurance Code, Financial Code, Unemployment Insurance
          Code, Revenue and Taxation Code, Food and Agriculture Code, Public Resources Code, Public
28        Utilities Code, Water Code, Vehicle Code, Harbors and Navigation Code, etc.—and yet CELA
          cannot point to a single case ever adopting its atextual reading of these provisions.

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                                          RESPONSE TO CELA BRIEF
1    own authority makes clear. See Sims v. AT&T Mobility Servs. LLC, 955 F. Supp. 2d 1110, 1117 (E.D.

2    Cal. 2013) (“an employee could recover unpaid wages through an action in contract”) (emphasis

3    added). The Court has not issued a final judgment here to vest Plaintiff’s purported rights or his

4    asserted employment classification under the ABC test. See Mann, 18 Cal. 3d at 829–30.

5           As pleaded, Plaintiff’s substantive wage-and-hour claims are “wholly dependent on statute,”

6    relying on a purported violation of the ABC test codified in AB5. Younger, 21 Cal. 3d at 109. The

7    California Supreme Court in Dynamex Operations West Inc. v. Superior Court interpreted the “suffer

8    or permit to work” language of the IWC wage orders to require the ABC test. 4 Cal. 5th 903, 958

9    (2018) (recognizing that the wage orders were “intended to be broader and more inclusive than the

10   common law test”). And those orders are “accorded the same dignity as statutes.” Brinker Rest. Corp.

11   v. Superior Court, 53 Cal. 4th 1004, 1027 (2012). In fact, the California Supreme Court recently

12   described Dynamex as a “judicial construction of a statute.” Vazquez v. Jan-Pro Franchising Int’l,

13   Inc., 10 Cal. 5th 944, 951 (2021). California’s ABC test derives solely from statute (Dynamex, 4 Cal.

14   5th at 956 & n.23), and Plaintiff thus “possesse[s] no right or remedy … which the legislature could

15   not cut off” (Zipperer, 133 Cal. App. 4th at 1024).

16          Moreover, Plaintiff did not have a vested property right at common law for restitution of

17   “unpaid wages” to begin with. “[T]he law relating to employment status [has been] in flux,” and it is

18   doubtful that an individual’s common law right to be paid something for his or her work would equate

19   with a right to the exact minimum wage enacted in statute, particularly when there’s a contract setting

20   forth terms of compensation. Graczyk v. Workers’ Comp. Appeals Bd., 184 Cal. App. 3d 997, 1006

21   (1986). To assert that Plaintiff has a vested property right for any “unpaid wages” assumes that there

22   is some vested right to this Court finding his agreement to be an independent contractor invalid—and

23   to a specific outcome when applying the statutory ABC test. But because Plaintiff’s “rights, remedies

24   and obligations rest on the status of the employer-employee relationship, rather than on contract or

25   tort,” Plaintiff “did not have a vested right in employee status at the time” his claims arose. Graczyk,

26   184 Cal. App. 3d at 1003, 1007; see also Angelotti Chiropractic, Inc. v. Baker, 791 F.3d 1075, 1081

27   (9th Cir. 2015) (employment benefits derived from statute are “wholly statutory,” and “such rights are

28   not vested until they are ‘reduced to final judgment’”).


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                                         RESPONSE TO CELA BRIEF
1             Plaintiff Is Not Being Denied Due Process.            CELA is wrong that applying Prop 22

2    retroactively would violate the Due Process Clause. CELA Br. 2, 18–19.

3             First, CELA conflates retroactivity with abatement—as explained above, these are distinct legal

4    doctrines with completely different concerns. See supra pp. 3–4. Abatement is about relieving

5    defendants of liability, and thus it does not raise any due process concerns. See Brenton v. Metabolife

6    Int’l, Inc., 116 Cal. App. 4th 679, 690 (2004) (where “the Legislature has conferred a remedy and

7    withdraws it by amendment or repeal of the remedial statute, the new statutory scheme may be applied

8    to pending actions without triggering retroactivity concerns”).

9             Second, due process concerns only arise when a statute attempts to unwind a final judgment,

10   thereby taking away a vested right. Graczyk, 184 Cal. App. 3d at 1006–07. As explained above, there

11   are no vested rights here to implicate due process in the first place.

12            Third, the test for when a retroactive statute violates due process is in fact fairly forgiving, and

13   Prop 22 easily meets it. No due process violation occurs when a vested right is amended if an important

14   state interest justifies the amendment (see id. at 1008–09; In re Marriage of Bouquet, 16 Cal. 3d 583,

15   592–93 (1976)), and Prop 22 recounts several such important interests (Cal. Bus. & Prof. Code

16   §§ 7449, 7450). Thus, because Plaintiff’s claims are grounded in a statutory scheme that Prop 22

17   repealed as to Uber and independent delivery drivers using the Uber Eats App, and Plaintiff has no

18   vested right to a particular employment classification, Prop 22 abates Plaintiff’s action.

19            The arguments advanced in CELA’s Nicholas amicus brief do not support Plaintiff’s claims in

20   this case. The Court should grant Uber’s motion to dismiss.

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     Dated:         May 19, 2021
22
                                                          /s/ Andrew Spurchise
23                                                        ANDREW SPURCHISE
                                                          SOPHIA BEHNIA
24                                                        LITTLER MENDELSON, P.C.
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25                                                        UBER TECHONOLOGIES, INC.
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                                           RESPONSE TO CELA BRIEF
